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CM/2012R00782 ` _ y
IN THE 'UN'ITED STATES DISTRICT COURT
EQR 'I`HE DISTRICT OF MARYLAND

’ ' soUTHERN DIVIsIoN
k
UNITED STATES OF AMERICA Criminal No. PWG-13-0100
k
v. * Conspiracy to Export to an Embargoed
* Country, 50 U.S.C. §§ 1702, 1705 and
ALI SABOONCHI, * 31 C.F.R. §§ 560.203 and 560.204;
ARASH RASHTI MOHAMMAD, * Unlawful Export to an Embargoed
a/k/a Arash RASHTI, * Country, 50 U.S.C. §§ 1702 and 1705;
MEHDI MOHAMMADI, * Aiding and Abetting, 18 U.S.C. § 2
and *
ESHAN NAGHSHINEH, *
*
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Defendants

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*k*****

SUPERSEDING INDICTMENT
The Grand Jury for the District of Maryland charges that:
COUNT ONE
Conspiracv to Export to an Embargoed Countrv

International Emergency Economic Powers Act
and the Iran Trade Embargo

l. The lnternational Emergency Economic Powers Act (IEEPA), 50 U.S.C. § 1701, et
seq, establishes criminal penalties for Willful violations of Presidential Orders issued in times of
national emergency and for violations of regulations implementing those orders.

2. Between March and May 1995, the President issued a series of Executive Orders,
pursuant to his authority under the IEEPA, finding that the actions and policies of the Government
of lran constituted an unusual and extraordinary threat to the national security, foreign policy and

economy of the United States. ln order to deal With that threat, the President imposed economic

 

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sanctions against Iran (also referred to as the Islamic Republic of Iran), to include a trade embargo
(the lran Trade Embargo), and authorized the Secretary of the Treasury to take such action necessary
to carry out the purposes of the Executive Orders.

3 . In order to implement the lran Trade Embargo and other economic sanctions imposed
by the Executive Orders, the Secretary of the Treasury, through the Of`fice of Foreign Assets Control
(OFAC), promulgated the lranian Transactions and Sanctions Regulations (ITSR). The ITSR
prohibit, among other things, the unauthorized export, re-export, Sale or supply to Iran, directly or
indirectly, of any goods or services from the United States or by a United States person, Without prior
authorization from the OFAC. The ITSR further prohibit any transaction that evades or avoids, or
has the purpose of evading or avoiding, or attempts to violate, any of the prohibitions contained in
the ITSR, including the unauthorized export of goods or services from the United States to a third
country if the goods or services Were intended or destined for Iran. The Iran Trade Embargo and the
ITSR remained in full force and effect at all times relevant to this Indictment, and Would have
precluded the unauthorized export of goods or services to any Iranian entities.

Defendants and Entities

At times material to this Indictment:

4. Defendant Ali SABOONCHI, a citizen of the United States, resided in Maryland.
SABOONCHI created and operated Ace Electric Company (Ace Electric) in Maryland.

5. Arash Rashti MOHAMMAD, a/k/a Arash RASHTI, an lranian national residing
in Iran, Was identified as a Sales l\/Ianager of the business Darya Saze Aria Zamin (DSAZ) located

at an office in the Tej arat Bank (Sarv Branch) Building in Tehran, Iran. RASHTI also Was identified

as the ChiefExecutive Officer of the business General DSAZ, FZ-LLC, Which had a post office box

 

 

 

 

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business address at the Amenity Center, a type of virtual office service, in Abu Dhabi, United Arab

Emirates (UAE).
6. Mehdi MOHAMMADI, an Iranian national, was a businessman residing in Iran.
7. Ehsan NAGHSHINEH, an Iranian national, was a businessman residing in lran.

8. At no time relevant to this Indictment did SABOONCHI, RASHTI,
MOHAMMADI, NAGHSHINEH, or the companies and individuals associated with them, apply
for, receive, or possess a license or authorization from the OFAC to export, re-export, sell or supply
goods or services, of any description, to or for Iran.

9. Company A, located in Maryland, was a supplier of industrial pump and process
equipment, including cyclone separators used in pipelines to separate impurities such as sand from
liquid.

10. Company B, located in Minnesota, Was a manufacturer/ supplier of industrial
measurement instrumentation, including thermocouples used to measure temperatures of liquids in
chemical and petrochemical field applications.

ll. Company C, located in Texas, was a manufacturer/supplier of specialty filtering
systems, including its patented Swirlklean Bypass Filter used primarily in the oil and gas industry,
with possible uses in water, hydrocarbon and nuclear plants.

12. Company D, located in Maryland, was a supplier of process control equipment,
including flow meters primarily used in industrial applications to measure the flow of water, and/or

liquids and other gasses.

13. Company E, located in Pennsylvania, was a supplier of fluid-handling equipment,

including springs for actuators, also known as regulators or valves, used to control the flow rate of

 

 

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a liquid.

14. Company F, located in Pennsylvania, was a supplier of industrial motion control and
fluid handling products, including hydraulic valves and connections

15. Company G, located in Pennsylvania, was a supplier of industrial fluid power,
automation and motion control products including liquid pumps and check valves having oil, gas,
energy, aerospace and defense applications.

l6. Company H, located in Arizona, Was a supplier of industrial electronic components
including LCD modules, or electronic display panels, having various industrial applications

17. Company I, located in New York, was a manufacturer/supplier of industrial pumps
and related products for use in various laboratory and industrial environments

18. Company J, located in Oklahoma, was a manufacturer/supplier of industrial
equipment, including digital camera sensors utilized to sense steel and other nonwoven material

19. Company K was a European manufacturer of industrial gas chromatograph and
analyser products Company L, located in New Jersey, was its United States distributer.

The Charge

20. Beginning in or about September 2009, and continuing up to and through in or about

l\/Iarch 2013, in the District of Maryland and elsewhere,
ALI SABOONCHI,
ARASH RASHTI MOHAMMAD, a/k/a Arash RASHTI,
MEHDI MOHAMMADI,
and

ESHAN NAGHSHINEH,

defendants herein, did knowingly and willfully combine, conspire, confederate, and agree with each

other, and with others known and unknown to the Grand Jury, to knowingly and willfully export and

 

 

 

 

 

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cause to be exported goods and services from the United States to Iran in violation of the Iran
Transactions and Sanctions Regulations, without having first obtained the required licenses or
authorizations from the Department of the Treasury, Office of Foreign Assets Control, in violation
of Title 50, United States Code, Sections 1702 and 1705, and Title 31, Code of Federal Regulations,
Sections 560.203 and 560.204.
21. The objects of the conspiracy were:

a. to provide services to Iranian individuals and businesses seeking to purchase
industrial parts and components manufactured and/or supplied in the United States;

b. to supply entities in Iran with industrial parts and components manufactured
and/or supplied in the United States;

c. to evade the prohibitions and licensing requirements of the Iran Trade
Embargo, the ITSR, and the IEEPA; and

d. to conceal the prohibited activities and transactions from detection by the
United States government through deceit and other means so as to avoid penalties and disruption of
the illegal activity.

22. lt was part of the conspiracy, among other things, that:

a. SABOONCHI created and operated Ace Electric Company for the purpose
of obtaining goods to be sent to Iran.

b. RASHTI, MOHAMMADI, NAGHSHINEH, and/or other members of the
conspiracy and their associates solicited purchase orders and business from customers in Iran for
United States-origin industrial parts and components

c. RASHTI, MOHAMMADI, NAGHSHINEH, and/or other members of the

 

 

 

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conspiracy and their associates requested that SABOONCHI and others obtain price quotes for,
order, and/or purchase Unites States-origin industrial parts and components for subsequent export
to lran, all of which were subject to United States export regulations

d. SABOONCHI, at the request of members of the conspiracy and other Iranian-
based associates obtained price quotes for, ordered, and/ or purchased United States-ori gin industrial
parts and components for subsequent export to lran, all of which were subject to United States export
regulations

e. Members of the conspiracy arranged for SABOONCHI and others to make
payment for orders that he or members of the conspiracy had placed with companies in the United
States.

f. SABOONCHI utilized locations in Maryland to accept delivery of the United
States-origin industrial parts and components ordered by him and/ or members of the conspiracy and
their associates, and then shipped the goods to co-conspirators in UAE or China.

g. RASHTI, MOHAMMADI, NAGHSHINEH, and/ or other members of the
conspiracy and their associates arranged for SABOONCHI to ship, or have shipped, the goods he
obtained to entities located in the UAE or China. They further arranged for the entities in the UAE
or China to forward the goods to them and/or their customers in lran.

h. Members of the conspiracy paid for the United States-origin industrial parts
and components obtained by them, and the associated shipping and related fees, by money transfers
including wire transfers and other deposits to bank accounts utilized by SABOONCHI and/or his
wife.

23. lt was further part of the conspiracy that SABOONCHI worked with RASHTI,

 

 

 

 

 

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MOHAMMADI, NAGHSHINEH, and others on numerous occasions to acquire, or attempt to
acquire, goods from the United States lto be sent to customers in Iran, including the following
transactions on or about the dates listed:
Attempt to Obtain Industrial Camera System for Export to Iran

24. On September l, 2009, an Iranian individual known to the Grand Jury asked
SABOONCHI to assist in obtaining an industrial digital camera and accessories from Company J,
since the company would not sell directly to Iran. He indicated that the camera system would be
utilized in steel processing of Mobarakeh Steel, which is a company located in Isfahan, lran. On
September 10, 2009, the defendant forwarded to the individual technical questions from Company
J regarding the product sought, and quoted a general price for the system. The individual
subsequently advised SABOONCHI on how he should respond to Company J in order not to alert
the company as to the end-user. On November 9, 2009, SABOONCHI and the individual discussed
the preferred method of shipment if SABOONCHI was able to purchase the system. SABOONCHI
asked the individual if he should ship the items to his own address and then mail them to the
individual, or make the purchase in Europe for shipment to lran. He also asked if the items should
be sent through Dubai, which was his preference, or be shipped directly to lran. The individual
indicated that whatever SABOONCHI deemed advisable was fine With him.

Solicitation of Iranian Business and Creation of Ace Electric

25. On October 29, 2009, another Iranian individual known to the Grand Jury asked
SABOONCHI if he was interested in doing business SABOONCHI replied that he was in the
“trade business” and would be at the individual’s service. The individual asked if he could be

SABOONCHI’s partner in Iran. SABOONCHI agreed and advised that if anyone needed products

 

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l " from the United States, he could obtain them for shipment to Iran. SABOONCHI told the
individual to look for customers and insure that he (the individual) received a deposit from them to
guarantee payment for whatever products were sought.

26. On November 19, 2009, RASHTI asked SABOONCHI for his decision regarding
a possible business relationship between them, SABOONCHI replied the next day stating that he
would start with a few projects until they got a better sense of each other’s business On November
23, 2009, SABOONCHI told RASHTI that he was having difficulty getting a quote for products
sought by RASHTI to be shipped overseas SABOONCHI stated that once he registered his own
company in the United States, he might be able to obtain the products for shipment to his own
address On December 18, 2009, SAB()ONCHI registered Ace Electric Company with the
Maryland Department of Assessments and Taxation as a business involved in “residential and
commercial electrical low and high voltage and trading (export and import).” On December 29,
2009, SABOONCHI advised RASHTI that he had opened his own company. On March 9, 2010,
RASHTI sent SABOONCHI a list of sixteen of his customers in lran, including oil refineries, a
steel company, petrochemical companies and shipping companies

Export of Cyclone Separators to Iran

27. On February 20, 20l0, RASHTI received a request from the Shazand Arak Oil
Refining Company in Arak, lran, which is an entity of the Iranian Ministry of Petroleum, seeking to
acquire two cyclone separators Beginning in September 2010, SABOONCHI sought to obtain a
quote and purchase the two cyclone separators from Company A, which he ultimately did on

November l7, 2010, for the total cost of $2,1 14.53.

28. On November l7, 2010, SABOONCHI falsely advised Company A that the cyclone

 

 

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separators were for use in the United States and told Company A to ship them to an address he used
in Boyds, Maryland. SABOONCHI received the cyclone separators from Company A on
December 10, 2010. On December 27, 2010, he sent them to General DSAZ in UAE, as directed
by RASHTI. The items arrived in UAE on January 2, 2011. RASHTI thereafter arranged for
delivery to a co-conspirator in UAE for ultimate delivery to lran.

Export of Thermocouples to Iran

29. Beginning in June 2010, RASHTI, acting on behalf of Petrochemical Kala Company
(PKC) in lran, tried to obtain quotes for thermocouples On September 20, 2010, RASHTI sent
SABOONCHI a request to get a quote on six specific thermocouples from Company B. On
November 1 1, 2010, SABOONCHI ordered six thermocouples of the model number that RASHTI
had instructed him to order. Company B responded on November 15, 201 O, with a quote for a total
price of $l,284. On November 22, 2010, SABOONCHI, at RASHTI’s direction, falsely told
Company B that the ultimate destination for the thermocouples was Turkey.

30. On November 23, 2010, SABOONCHI told Company B to ship the items to an
address he used in Boyds, Maryland, and send the bill to him at his horne address in Rockville,
Maryland. Company B shipped the thermocouples by FedEx to the address provided by
SABOONCHI on January 19, 201 l. On February 3, 201 l, SABOONCHI provided RASHTI with
the tracking number for his shipment of the products to the address used by RASHTI in UAE. The
package arrived in UAE on February 6, 2011. RASHTI then emailed SABOONCHI confirming
the delivery and offered to deposit the shipping costs an account held by SABOONCHI’s wife at
Bank Melli in lran. On February 8, 2011, RASHTI arranged for delivery of the goods to a co-

conspirator in UAE for ultimate delivery to Iran.

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Export of Stainless Steel Filter Elements to Iran

31. On October 18, 2010, a buyer with PKC in Iran requested that RASHTI obtain 10
units of a specifically identified 30 micron stainless steel filter element from Company C. The filter
elements requests by PKC are used in Company C’s Model 1 Swirlklean Bypass Filter. RASHTI
thereafter arranged for another person to place the order with Company C. However, the other
person was unable to transfer funds to Company C to pay for the order.

32. On December 6, 2010, RASHTI asked SABOONCHI to pay the invoice amount of
3151.53 directly to Company C, which SABOONCHI did. RASHTI thereafter reimbursed
SABOONCHI for paying the invoice. Company C shipped the goods directly to an address
provided by RASHTI in UAE, for ultimate transport to PKC in Iran.

Export of Swirlklean Bypass Filters to Iran

33. On January 11, 2011, RASHTI contacted the buyer at PKC in lran, referred to a
telephone conversation they previously had, and attached a description of a Swirlklean Model l
Bypass Filter and associated components Subsequent emails between them established that PKC
wanted four of the filters RASHTI thereafter placed the order with Company C, which issued an
invoice for $1,911.03 for four Swirlklean Model l Bypass Filters and associated components

34. On April 12, 201 1, RASHTI asked SABOONCHI to pay the invoice amount directly
to Company C, which SABOONCHI did. RASHTI thereafter reimbursed SABOONCHI for
paying the invoice. Company C shipped the goods directly to an address provided by RASHTI in
UAE, for ultimate transport to PKC in Iran.

Export of Flow Meters to Iran

3 5. On December 18, 2010, a representative of A.R.P.C., an Iranian petroleum company,

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sent an attachment to RASHTI that was a request, with specific model numbers and specifications
for three flow meters On April 14, 2011, one of RASHTI’s employees emailed SABOONCHI
asking for price and delivery time on an attached list, which was the same that A.R.P.C. provided
On April 18, 2010 SABOONCHI emailed Company D and asked for a quote and delivery time on
the same attached list.

3 6. Further communications resulted in the issuance of a final invoice on August 2, 201 l,
by Company D to SABOONCHI for three of the specified flow meters at a cost of $5,856 plus
shipping SABOONCHI paid a total of $6,224.88 for the three meters, including shipping, and was
reimbursed by RASHTI for those costs On September 24, 201 l , SABOONCHI shipped the three
meters from Germantown, Maryland, to General DSAZ in UAE for ultimate delivery by RASHTI
to A.R.P.C. in lran.

Export of Actuator Springs to Iran

37. On January 13, 201 1, a buyer at PKC in Iran sought a price quote from RASHTI for
an item specifically identified by part number on an attached document and described as a spring for
an actuator. On February 26, 201 1 a DSAZ employee emailed SABOONCHI for a price quote and
delivery time, and attached a description of the same item that RASHTI had received from PKC.
On March 3, 2011, SABOONCHI sought a price quote from Company E and included the
attachment he had received from DSAZ. On March 4, 201 1, Company E provided SABOONCHI

a quote.

38. On March 17, 2011 SABOONCHI emailed Company E to complete an order for
three springs and provided his credit card information and a shipping address in Baltimore,

Maryland On March 25, 2011 Company E shipped the springs to SABOONCHI, and on March

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28, 2011, Company E charged his credit card $112.07 for the parts, tax, and shipping costs
SABOONCHI thereafter shipped the springs to the address provided by RASHTI in UAE for
ultimate transport to PKC in Iran.

Export of Numerous Industrial Parts to Iran

39. On March 16, 2011, RASHTI received an email with an attachment from a
representative of A.R.P.C. in lran, which contained a list of numerous industrial parts, including
hydraulic valves and connectors On March 17, 2011, RASHTI sent the list to SABOONCHI and
asked him to get a quote on the parts from Company F, which SABOONCHI did. Af`ter receiving
a quote and checking with RASHTI, SABOONCHI ordered the parts from Company F and
instructed that they be shipped directly to General DSAZ in UAE.

40. The parts were sent to UAE in several shipments beginning on March 31, 201 l, and
continuing into June 2011. SABOONCHI was charged separately for each shipment, resulting in
total charges of $7,067, and was reimbursed by RASHTI for those costs RASHTI thereafter made
arrangements for delivery of the parts to A.R.P.C. in lran.

Attempt to Obtain Industrial Components for Export to Iran

41. On May 3, 2011, RASHTI’s employee asked SABOONCHI to determine a price
offer and time of delivery for approximately twenty-nine industrial components manufactured by
Company K. That same day, SABOONCHI submitted a request to Company L seeking a quote for
the components Company L asked SABOONCHI to identify the location of the end-user so a quote
could be provided. SABOONCHI responded that the order Was for General D-SAZ FZ-LLC located
in UAE. On May 4, 201 l, Company L informed SABOONCHI that a quote would not be provided

because the products had already been quoted by the manufacturer for a customer in lran. On May

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5, 2011, RASHTI’s employee was advised by Company K that an offer would not issue since the
project had already been quoted by its distributor for Iran and others
42. On May 7, 2011, RASHTI and SABOONCHI discussed how their dual inquiries
to Company K and Company L had compromised acquisition of the products RASHTI apologized,
and told SABOONCHI that if asked, they should falsely represent that they got the order from a
client in lraq and did not know the order was from lran.
Export of Pumps and Valves to Iran
43. In email exchanges starting on July 24, 2012, SABOONCHI attempted to fill an
order for MOHAMMADI for liquid pumps and check valves MOHAMMADI wanted to know
if SABOONCHI accepted Rial (Iranian currency) payment to family members in Iran and if
shipment would be direct to Iran or through Dubai. SABOONCHI advised he would not send
anything straight through to Iran. The next day, SABOONCHI provided MOHAMMADI an
outline of a possible delivery plan, and then subsequently advised MOHAMMADI that he would
ship the goods by way of China, which he believed Would be cheaper. In late August 2012,
SABOONCHI ordered the requested pump and check valves from Company G. Company G sent
the parts to SABOONCHI in Maryland in two shipments with the first order ($396.53 including
freight) being shipped on August 29, 2012, and the second order ($1,923.95 including freight) sent

on September 17, 2012.

44. On August 27, 2012, SABOONCHI requested NAGHSHINEH’s assistance in
shipping certain items to Iran, and inquired about having those items shipped through China or
elsewhere SABOONCHI revealed that the purchaser of the goods was in Iran. On September 20,

2012, SABOONCHI advised NAGHSHINEH that the package in question had arrived.

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SABOONCHI mailed the items on September 22, 2012, to an address in Shenzhen, China, where
it arrived in early October 2012. Images of the purchased items were then sent from China to
SABOONCHI.

45. On October 7, 2012, SABOONCHI inquired about the package and asked for
NAGHSHINEH’s telephone number in Iran in order to provide it to MOHAMMADI, which he
subsequently did. On October 23, 2012, NAGHSHINEH advised SABOONCHI that the package
had arrived and would be delivered that day to MOHAMMADI. On October 25, 2012,
NAGHSHINEH confirmed to SABOONCHI that the package was delivered per their previous
discussion.

Export of LCD Modules, Pump and Other Industrial Parts to Iran

46. On December 27, 2012, NAGHSHINEH asked SABOONCHI if he could obtain
items for him that could be transshipped to him through Hong Kong. On December 28, 2012,
SABOONCHI responded that it would be best to coordinate shipment of any items in two stages
with MOHAMMADI.

47. On January 3, 2013, NAGHSHINEH asked SABOONCHI to purchase fifty LCD
modules and five magnifying lenses from Company H. He provided web links to those products
on Company H’s website, as well as web links for carbide end mills (a type of drill bit for cutting
metals) being sold on ebay that he also wanted SABOONCHI to purchase. SABOONCHI
purchased the LCD modules from Company H that same day, at a total cost of$421.15, for shipment
to his Parkville, Maryland, residence Between January 3 and January ll, 2013, SABOONCHI

purchased, or attempted to purchase, various carbide end mills via the ebay web links provided by

NAGHSHINEH

 

 

 

 

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48. On January 9, 2013, SABOONCHI advised NAGHSHINEH that MOHAMMADI
had two orders one for lightweight plastic and metal washers and the other for a “large and heavy
motor,” that would be combined with NAGHSHINEH’s items for shipment to China.
SABOONCHI had previously ordered these items which included a pump and related parts from
Company I on January 2, 2013. Company l subsequently shipped the items to SABOONCHI’s
residence in Parkville, Maryland, in separate shipments over the next few weeks On January 13,
2013, SABOONCHI advised NAGHSHINEH that he had not yet received payment of between
“15-20” from MOHAMMADI for the merchandise to be shipped On January 15, 2013,
NAGHSHINEH told SABOONCHI that the items ordered by him and MOHAMMADI would be
separated once received in Hong Kong.

49. On January 21, 2013, MOHAMMADI advised SABOONCHI how much money
he was transferring toward the total payment of $17,500 for the items ordered from Company I. On
January 23, 2013, SABOONCHI directed NAGHSHINEH to determine how much he owed to
SABOONCHI for their transaction, to include SABOONCHI’s commission, and they discussed
calculation of the expenses for subsequent shipment of the merchandise from Hong Kong to Iran.
On February 1, 2013, SABOONCHI shipped the industrial parts and components obtained for
MOHAMMADI and NAGHSHINEH from Company H and Company l to an address in China for

subsequent shipment to Iran.

50 U.s.C. §§ 1702, 1705
31 C.F.R. §§ 560.203, 560.204

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COUNT TWO
Unlawful Export to an Embargoed Count;v_
l. The allegations set forth in paragraphs 1-9, 21-23, and 27-28 of Count One of this

lndictment are realleged and incorporated by reference as though fully set forth herein.

January 2011, in the District of Maryland,

ALI SABOONCHI
and
ARASH RASHTI MOHAMMAD, a/k/a Arash RASHTI,

 

defendants herein, did knowingly and willfully export and cause the exportation, and attempt to
export and cause the exportation, of certain goods to wit, cyclone separators and services from the
United States to Iran in violation of the lTSR, without having first obtained the required licenses or

2. Beginning in or about February 2010, and continuing through at least in or about
, authorizations from the Department of the Treasury, Office of Foreign Assets Control.

50 U.s.C. §§ 1702, 1705
18 U.s.C. § 2
31 C.F. R. §§ 560.203, 560.204

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COUNT THREE
Unlawful Export to an Embargoed Countrv

l. The allegations set forth in paragraphs 1-8, 10, 21 -23, and 29-30 of Count One of this
lndictment are realleged and incorporated by reference as though fully set forth herein.

2. Beginning in or about June 2010, and continuing through at least in or about February
2011, in the District of Maryland,

ALI SABOONCHI
and

ARASH RASHTI MOHAMMAD, a/k/a Arash RASHTI,

defendants herein, did knowingly and willfully export and cause the exportation, and attempt to

 

export and cause the exportation, of certain goods to wit, thermocouples and services from the
United States to Iran in violation of the ITSR, without having first obtained the required licenses or

authorizations from the Department of the Treasury, Office of Foreign Assets Control.

50 U.s.C. §§ 1702, 1705
18 U.s.c. § 2
31 c.F. R. §§ 560.203, 560.204

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COUNT FOUR
Unlawful Export to an Embargoed Countrv

1. The allegations set forth in paragraphs 1-8, 12, 21-23, and 35-36 of Count One of this
lndictment are realleged and incorporated by reference as though fully set forth herein.

2. Beginning in or about December 2010, and continuing through at least in or about
September 2011, in the District of Maryland,

ALI SABOONCHI
and

ARASH RASHTI MOHAMMAD, a/k/a Arash RASHTI,

defendants herein, did knowingly and willfully export and cause the exportation, and attempt to

 

export and cause the exportation, of certain goods to wit, flow meters and services from the United
States to lran in violation of the lTSR, without having first obtained the required licenses or

authorizations from the Department of the Treasury, Office of Foreign Assets Control.

50 U.S.C. §§ 1702, 1705
18 U.S.C. § 2
31 C.F. R. §§ 560.203, 560.204

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COUNT FIVE
Unlawful Export to an Embargoed Countrv
1. The allegations set forth in paragraphs 1-8, 15, 21-23, and 43-45 of Count One of this
lndictment are realleged and incorporated by reference as though fully set forth herein.
2. Beginning in or about July 2012, and continuing through at least in or about October
2012, in the District of Maryland,
ALI SABOONCHI,
MEHDI MOHAMMADI,
and
ESHAN NAGHSHINEH,
defendants herein, did knowingly and willfully export and cause the exportation, and attempt to
export and cause the exportation, of certain goods to wit, pumps and valves and services from the

United States to Iran in violation of the lTSR, without having first obtained the required licenses or

authorizations from the Department of the Treasury, Office of Foreign Assets Control.

50 U.s.C. §§ 1702, 1705
18 U.s.C. § 2
31 C.F. R. §§ 560.203, 560.204

 

 

 

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COUNT SIX
Unlawful Export to an Embargoed Country
1. The allegations set forth in paragraphs 1-8, 16-17, 21-23, and 46-49 of Count One
of this lndictment are realleged and incorporated by reference as though fully set forth herein.
2. Beginning in or about December 2012, and continuing through at least in or about
February 2013, in the District of Maryland,
ALI SABOONCHI,
MEHDI MOHAMMADI,
and
ESHAN NAGHSHINEH,
defendants herein, did knowingly and willfully export and cause the exportation, and attempt to
export and cause the exportation, of certain goods to Wit, LCD modules a pump, and other
industrial parts and services from the United States to Iran in violation of the ITSR, without having
first obtained the required licenses or authorizations from the Department of the Treasury, Office of
Foreign Assets Control.
50 U.S.C. §§ 1702, 1705

18 U.s.C. § 2
31 C.F. R. §§ 560.203, 560.204

Rod J. Rosenstein
United States Attorney

 

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